Case 2:05-cr-20223-.]PI\/| Document 33 Filed 07/06/05 Page 1 of 2 Page|D 27

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WESTERN DISTRICT 0F TENNESSEE m m ~-- °'°"

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-vs- Case No. 2:05cr20223-001Ml

CHRISTOPHER L. FRANKS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT 'I`O
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
WEDNESDAY, JULY 6, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: Julyl,2005 ,.-_
(S,. /}lm#s@»)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llt` not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142({] are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B!BS) Order of Temporary Detention

This document entered on the docket sheet |n comp!iance
with Fiu|e 55 and/or 32(b) FF|CrP on “

 

   

UNITED sTATE DISTRIC COURT - WE TER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

